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EAsTERN Dl\/lsioN

 

UN|TED STATES OF Ai\/IER|CA,

F’lalrltiff,

 

v. Cr. NO. 05-10047-T
DENN|S CHUl\/|NEY,

Defendant.

 

ORDER ON ARRA|GNl\/|ENT

 

This cause came to be heard on Ju|y 12, 2005. The Assistant United States Attorney
appeared on behalf of the government and the defendant appeared in person and With the
following counsel Who ls appointed

NAN|E: Dianne Smothers
ADDRESS:

TELEPHONEZ

The defendantl through counsel, Waived formal arraignment and entered a plea of not
guilty.

Al| motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extendedl

_The defendant, Who' is not in custody, may stand on his/her present bond.

id The defendant, (not having made bond) (being a state prisoner) (being a federal
prisoner) )(_t)eing held Without bond pursuant to BRA of 1984), is remanded to the custody of the

 

 

U.S. l\/larshal.
§ 6 L
S. THOMAS ANDERSON
United States l\/lagistrate Judge
Charges: felon in possession of a firearm

Assistant U.S. Attorney assigned to case: PoWei|

Ru|e 32 Was not Waived.

Defendant's age.' (-{§Q

This document entered on the docket sheet in compliance `\
with Ruie 55 and/or 32(b) FRch on M m )

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CR-10047 Was distributed by faX, mail, or direct printing on
July 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson7 TN 38301

.1 ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable .1 ames Todd
US DISTRICT COURT

